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                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                         FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                          PLAINTIFF

          v.               No. 13-50034-007

JANET SHELL                                                       DEFENDANT


                               O R D E R

     The defendant agreed at the arraignment on an indictment

conducted this date to waive the issue of detention pending the

final disposition of the case. Accordingly, the defendant is

considered    detained   subject   to   reconsideration     on   motion    of

defendant.

     SO ORDERED this 6th day of May, 2013.




                                        /s/ Erin L. Setser
                                        HON. ERIN L. SETSER
                                        UNITED STATES MAGISTRATE JUDGE
